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                                THE STATE OF NEW HAMPSHIRE
                                              JUDICIAL BRANCH
                                                NH CIRCUIT COURT
6th Circuit - Probate Division - Concord                                                      Telephone: 1-855-212-1234
2 Charles Doe Drive, Suite 1                                                              TTY/TDD Relay: (800) 735-2964
Concord NH 03301                                                                                https://www.courts.nh.gov


                                     CERTIFICATE OF APPOINTMENT
                                             (Letter of Appointment)



Case Name:             Guardianship of William S Justice
Case Number:           317-2025-GI-00085


On February 18, 2025 the following person(s) was/were appointed to perform the duties of
guardian(s) over the person of William S Justice, 15 Pitman Street #516 Concord NH 03301 . The
named guardian(s) accepted this responsibility.

Guardian(s)

Wanda J Duryea                        1137 Meaderboro Rd                                  Home: (603)923-2793
                                      Farmington NH 03835

The rights, duties, and powers of the guardian(s) are stated in orders issued by the court and are
limited or restricted as expressly stated in those documents.



This document certifies that this appointment did occur as stated and remains in effect as dated
below.


1 certify that this is a true and correct copy of the Certificate of Appointment existing in the official
court record in this case.


February 19, 2025                                             /s/ Kimberly A. Bonenfant
                                                                  Clerk of Court
                                                                  State of New Hampshire
                                                                  Merrimack County




This electronic certification stamp meets the statutory requirement for certified or attested documents pursuant to
 Supplemental Rules of the Circuit Court of New Hampshire for Electronic Filina.

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                                           IMPORTANT INFORMATION
                                            GuardianshipOver Person
                                                  Incapacitated



Forms enclosed:

Guardian Over Person Order.           Must be kept by the guardian for the records of the guardianship. The
order specifies the rights, duties and powers of the guardian.
Certificate of Appointment (Letter of Appointment with court seal). Must be kept by the guardian for
the records of the guardianship. Additional Certificates of Appointment may be obtained from the
probate division for an additional fee.

Following are the forms that are likely to be required for this case:

Annual Report of the Guardian of the Person RSA 464-A;35 requires that the guardian of an
incapacitated person (ward) file an annual report each year to report on the general status of the
ward. This form serves as that report.

Motion To Terminate Guardianship This form is filed with the court to request that a guardianship be
terminated.


Other forms may be required. Unless otherwise allowed, all filings are to be done
electronicallythrough the e-File icon at the courts website: www.courts.nh.gov




This electronic certification stamp meets the statutory requirement for certified or attested documents pursuant to
Supplemental Rules of the Circuit Court of New Hampshire for Electronic Filina.                      ■

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                                THE STATE OF NEW HAMPSHIRE
                                               JUDICIAL BRANCH
                                                NH CIRCUIT COURT
6th Circuit - Probate Division - Concord                                                       Telephone 1-855-212-1234
2 Charles Doe Drive, Suite 1                                                               TTY/TDD Relay; (800) 735-2964
Concord NH 03301                                                                                https://www.courts.nh.gov

                                           IMPORTANT DUE DATES



Case Name:             Guardianship of William S Justice
Case Number:           317-2025-GI-00085




The court has appointed Wanda J Duryea as guardian(s) in this case. If there is an attorney for the
fiduciary, the signed certificate of appointment has been sent to the attorney’s office. Please note the
following forms are due on the dates listed below.

                      Form Name                                       Due Date

                      Annual Report                                   February 18, 2026

Please Note:
If you fail to file these forms on time, you may be subject to late fees and/or an order to appear before
the court. An information sheet describing the forms and instructions which may be needed for this
case is enclosed.


The guardian is responsible for notifying the court of address changes for any party in the case.




February 19, 2025                                                 Kimberly A. Bonenfant
                                                                  Clerk of Court




C: Wanda J Duryea




This electronic certification stamp meets the statutory requirement for certified or attested documents pursuant to
Supplemental Rules of the Circuit Court of New Hampshire for Electronic Filina.

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                                THE STATE OF NEW HAMPSHIRE
                                            JUDICIAL BRANCH
                                            NH CIRCUIT COURT
6th Circuit - Probate Division - Concord                                          Telephone: 1-855-212-1234
2 Charles Doe Drive, Suite 1                                                  TTYn'DD Relay: (800) 735-2964
Concord NH 03301                                                                    https://www.courts.nh.gov

                                      GUARDIAN OVER THE PERSON
                                               ORDER

Case Name:              Guardianship of William S Justice
Case Number:            317-2025-GI-00085


After a hearing held at this court, and upon due consideration of the petition for guardianship filed by
Wanda J Duryea and all the evidence proffered thereon, and with the assent of William S. Justice,
the court renders the following findings as required by RSA464-A:9, III (a)-(d), namely;
    (a) William S Justice ("ward") is incapacitated,
    (b) Guardianship is necessary as a means of providing for the ward's continuing care,
         supervision, and rehabilitation,
    (c) There are no available alternative resources which are suitable with respect to the ward's
        welfare, safety or rehabilitation,
    (d) Guardianship is appropriate as the least restrictive form of intervention consistent with the
        preservation of the ward's civil rights and liberties.
The court finds that the ward is incapable of exercising the following rights, namely, the right to:
    Travel or decide where to live.

    Refuse or consent to medical or other professional care, counseling, treatment or service,
    including the right to be admitted or discharged from any hospital or other medical institution
    providing such at the lawful direction of the guardian of the person.
    Grant release of, withhold, deny, or refuse authorization for the guardian of the person to obtain
    access to and release of the ward's confidential records and papers insofar as the same may be
    reasonably needed by the guardian of the person to ensure that the ward's mental, emotional and
    physical health concerns are properly addressed and treated, provided, however, the ward shall
    continue to have the right to access his confidential records and papers himself.




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Case Name: Guardianship of William S Justice
Case Number: 317-2025-GI-00085
GUARDIAN OVER THE PERSON - ORDER

                                           APPOINTMENT

The court appoints Wanda J Duryea as guardian over the person of the ward. The guardian's mailing
address is 1137 Wleaderboro Rd Farmington NH 03835 and his/her telephone number is (603)
923-2793. The guardian is granted the right to exercise those rights as specified in this document,
subject to any limitations imposed upon the guardian under RSA 464-A, and such other limitations
including but not limited to those listed in this document. The guardian of the person shall act with
respect to the ward in a manner which safeguards, to the greatest extent possible, the ward's civil
rights, and shall restrict the ward's personal freedom only to the extent necessary.
                                GUARDIANSHIP OF THE PERSON

The guardian of the person shall have all the rights and powers specified herein, subject to those
orders and limitations also specified herein, namely:
   The right and authority to determine where the ward travels or lives.
   The right and authority to determine if refusal should be made or consent should be given to any
   medical or other professional care, counseling, treatment, or service provided however, that:
   a.    The guardian of the person shall not have the right or authority to place the ward in the New
         Hampshire Hospital or a similar state institution, except pursuant to RSA 464-A:25 I,(a),
         without the prior approval of the court; and
   b.    The guardian of the person shall not have the right or authority to give consent to or contract
         for psychosurgery, electroshock therapies, sterilization or any other experimental or
         extraordinary treatment or procedure of any nature without the prior approval of the court.
   The right and authority to gain access to all confidential records and papers of the ward for the
   limited purpose of assessing and addressing the ward's personal needs and concerns from time to
   time.

   The duty to file an annual report of the present status, circumstances, and condition of the ward
   within ninety (90) days of each anniversary date of appointment in accordance with the provisions
    of RSA 464-A:35.

   To the extent not otherwise encompassed within the foregoing, the guardian of the person shall
   have all of the rights, powers and authorities set forth in RSA 464-A:25.
   Any and all powers of attorney executed by the ward naming an agent to act under a general or
   financial power of attorney or an agent under a health care power of attorney are hereby
   REVOKED. This order appointing a guardian of the person and/or estate supersedes the powers
   of attorney.


     The authority of the guardian of the person shall include authority to apply for retirement, state
    and federal benefits, including Medicaid. The authority of the guardian of the person shall include
    authority to request and obtain any and all financial and/or bank account information necessary for
    such applications or for any other purpose. The guardian of the person shall have the authority to
    close any bank accounts, debit card accounts, Venmo, PayPal accounts and any other financial
    accounts if the ward’s balance from all accounts is $2,500 or less. All funds from closed accounts
    shall be transferred to the representative payee.



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 Case Name; Guardianship of William S Justice
 Case Number: 317-2025-GI-0QQ85         .
 GUARDIAN OVER THE PERSON - ORDFR



 This order shall become effective only upon receipt and approval of the bond which the guardian has
 th?bo°nT'^^'^                                  signature below acknowledging and approving the filing of
 Judge Signature:




 February 18. 2025
 Date
                                                          Judge Michael P. Panebianco




 The bond as ordered having been filed and approved, the above order is issued and effective this
 date.




Ordered by the Court:




February 18. 2025
Date
                                                          Judge Michael P. Panebianco




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  Case Name: Guardianship of William S Justice
  Case Number: 317-2025-GI-00085
  GUARDIAN OVER THE PERSON ■ ORDER


                                           NOTICE TO WARD

 The within order appoints Wanda J Duryea as guardian over your person. You have the right to
 seek alteration or termination of this guardianship at any time.

 You have the right to appeal this order and the guardianship appointment(s). To appeal, you must file
 a notice of appeal with the clerk of the New Hampshire Supreme Court within thirty (30) days of the
 date of this notice.                                                                  /   /

 Unless filed electronically in accordance with the New Hampshire Supreme Court rules any appeal to
 the New Hampshire Supreme Court should be addressed as follows:


                                Clerk of Court
                                New Hampshire Supreme Court
                                One Charles Doe Drive
                                Concord, New Hampshire 03301




NHJB-2446-Pe (10/01/2023)
